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                                                                      FILED IN CHAMBERS
                                                                      U.S.D.C ATLANTA
                                                                      Jul 20 2020
                                                                Date: __________________________

                                                                JAMES N. HATTEN, Clerk
                                                                    /s/Sonya Lee Coggins
                                                                By: ____________________________
                                                                          Deputy Clerk

                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


UNITED STATES OF AMERICA,

        Petitioner,
                                              CIVIL ACTION FILE NO.
v.                                            1:20-cv-02413-LMM-LTW

MOORE, INGRAM, JOHNSON &
STEELE, LLP;

        Defendant.

     MAGISTRATE JUDGE’S FINAL REPORT AND RECOMMENDATION

       This matter appears before the Court on a Petition to Enforce an Internal

Revenue Service (“IRS”) summons filed by the United States of America (“Petitioner”)

pursuant to 26 U.S.C. §§ 7402 and 7604. [Doc. 1]. Respondent Moore, Ingram,

Johnson & Steele, LLP (“Respondent” or “MIJS”) filed its Answer to the Petition and

a brief in opposition, and Petitioner a Response to MIJS’s brief. [Docs. 8, 12, 13]. On

June 18, 2020, the undersigned held a hearing regarding the Petition and this matter is

now ripe for consideration.       For the reasons set forth below, the undersigned

RECOMMENDS that the Petition be GRANTED in part and DENIED in part, and

that a special master be appointed, pursuant to Federal Rule of Civil Procedure 53, to

resolve any remaining disputes.
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                                  BACKGROUND

         The IRS is conducting an investigation to determine whether Respondent is

liable for, among other things, organizing and promoting abusive tax shelters, aiding

and abetting in the understatement of another person’s tax liability, and preparing or

assisting in the preparation of tax returns for others that willfully or recklessly

understate the taxpayer’s tax liability. [Doc. 1, at 2]. The IRS believes Respondent is

in possession of books, records, paper, and other data that may be relevant to the

investigation. [Id. at 2–3].

         According to Petitioner, Respondent provides management services to captive

insurance companies (“Captives”) that it created or assumed control over. [Doc. 13,

at 2].    Generally speaking, a Captive is a subsidiary created by a business that

purportedly provides insurance for the business. [Id.]. The business then pays

insurance premiums to the Captive, deducts the premiums from its tax return, and can

elect for the Captive to pay taxes on only the investment income, not the premiums.

[Id. at 2–3].    Such an arrangement is allowed by law, but some unscrupulous

individuals abuse this tax structure. For example, a Captive might provide only

redundant insurance or insurance against “esoteric, implausible risks for exorbitant

‘premiums.’” See Abusive Tax Shelters Again on the IRS “Dirty Dozen” List of Tax

Scams for the 2016 Filing Season (Feb. 16, 2016) (available at https://www.irs.gov

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/newsroom/abusive-tax-shelters-again-on-the-irs-dirty-dozen-list-of-tax-scams-for-

the-2016-filing-season, last accessed June 26, 2020). This abusive funneling of excess

profits into a Captive provides several benefits. The business avoids taxes on its

income paid as “premiums” but maintains control over those assets via its ownership

of the Captive. And because Captives are distinct legal entities, they can be used to

shield assets from creditors and avoid estate taxes.

      The legality of the Captives created and managed by Respondent are not at issue

at this time. Instead, “the IRS is still in the process of obtaining documents as part of

its investigation” to determine if penalties are warranted. [Doc. 13, at 5]. The IRS sent

Respondent an Information Document Request (“IDR”) on May 7, 2018, seeking

documents relating to Respondent’s Captive management practice.             [Doc. 9-7].

Respondent produced some, but not all, of the documents requested, and so the IRS

issued the summons at issue in the Petition, again requesting the same documents

requested in the IDR. [Doc. 1-2]. When Respondent still failed to produce all of the

requested documents, this litigation followed.

                                LEGAL STANDARD

      Under § 7602 of the Internal Revenue Code, the IRS is authorized “[t]o examine

any books, papers, records, or other data which may be relevant or material” to an

inquiry surrounding a taxpayer’s tax liability, and may summon “any person having

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possession, custody, or care of books of account containing entries relating to the

business of the person liable for tax or required to perform the act.” 26 U.S.C.

§ 7602(a)(1–2). If a person refuses to obey a summons, the IRS can petition for

enforcement, as it did here. 26 U.S.C. § 7604(b). To obtain judicial enforcement of

the summons, Petitioner must show: (1) “that the investigation will be conducted

pursuant to a legitimate purpose,” (2) “that the inquiry may be relevant to the purpose,”

(3) that the information sought is not already within its possession, and (4) that the

administrative steps required by the Internal Revenue Code have been

followed. United States v. Powell, 379 U.S. 48, 57–58 (1964). If Petitioner makes

such a showing, the burden shifts to Respondent “‘to disprove one of the four Powell

criteria, or to demonstrate that judicial enforcement should be denied on the ground

that it would be an ‘abuse of the court’s process.’” United States v. Centennial Builders,

Inc., 747 F.2d 678, 680 (11th Cir. 1984) (quoting United States v. Beacon Fed. Sav. &

Loan, 718 F.2d 49, 52 (2d Cir. 1983)).

                                      ANALYSIS

      In opposing enforcement of the summons, Respondent argues that “the IRS

possesses the bulk of the materials[,] and a vast majority, if not all, the non-privileged

information, it still seeks.” [Doc. 12, at 13]. Respondent further contends that the

summons “was issued in bad faith and is overly broad.” [Id. at 15–20]. Last,

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Respondent asserts that it is ethically barred from producing much of the requested

documentation due to attorney-client privilege and confidentiality obligations. [Id. at

20–25]. The Court addresses each of these arguments in turn.

I.    Whether Petitioner Already Possesses the Documents Requested

      As noted above, the IRS concedes that Respondent produced “some documents”

responsive to certain categories identified in the summons. [Doc. 1-1, at 3]. And

Respondent, for its part, does not actually contend that the IRS possesses all of the

documents requested in the summons.           Instead, Respondent contends “the IRS

possesses all responsive documentation from 2009 to the present, not containing

privileged communications between Respondent and its clients, or confidential client

information.” [Doc. 12, at 11]. Below, the Court will discuss what should be done

about privileged/confidential information. But for now, the Court focuses only on

whether any requested documents are “already within the [IRS’s] possession.” See

Powell, 379 U.S. at 57–58.

      Again, “some documents” certainly are. [Doc. 1-1, at 3]. But as Respondent

concedes, it produced “hundreds of thousands of pages,” while a full response to the

summons would involve “millions of pages.” See [Doc. 12, at 12, 14] (emphasis

omitted). Even some of the documents Respondent did produce are incomplete. As

Respondent admits, it produced only “templates of each insurance policy,” not the

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insurance policies themselves, and it intentionally withheld “the declaration page

unique to each insured.” [Doc. 12, at 5]. The Court, obviously, will not order

Respondent to provide documents already produced, except to the extent portions of

those documents were withheld. But Respondent readily admits it is in possession of

millions of pages of documents not already produced. Other than the documents it

produced, Respondent also notes the IRS possesses documentation produced by

Captive Resources, Inc. (“CRI”), Pinnacle Actuarial Resources, Inc. (“Pinnacle”), and

Milliman, Inc. (“Milliman”). [Id. at 7].

      This Circuit’s precedent dictates that “actual possession of or access to

information by the IRS is not an absolute bar to enforcement of a summons for that

information.” United States v. Davis, 636 F.2d 1028, 1038 (5th Cir. 1981).1 The

“already possessed” rule “is not a license to trim the edges of an otherwise valid

summons.” Id. Rather, the Court focuses on whether the “summons as a whole” is

“unnecessary” within the meaning of § 7605(b). Davis, 636 F.2d at 1038. If “the bulk

of the materials summoned is not demonstrably in the possession of the IRS, and . . .




      1
       United States v. Davis, 636 F.2d 1028, 1038 (5th Cir. 1981) was decided in
February 1981 and as such is binding. See Bonner v. City of Prichard, Ala., 661 F.2d
1206, 1207 (11th Cir. 1981) (en banc).

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the marginal burden of supplying information which might already be in the possession

of the IRS is small,” the summons should be enforced in its entirety. Id.

      The biggest problem with Respondent’s argument is that it is based entirely on

documents produced to the IRS after the summons at issue. The fact that Respondent

produced hundreds of thousands of pages after it received the summons does not

demonstrate that the summons sought unnecessary documents. See [Doc. 9-1, at 17–

18, ¶24]. Quite the opposite. It shows that, at the time the summons was issued, the

IRS was seeking hundreds of thousands of pages of indisputably responsive,

unprivileged documents in Respondent’s possession that had not yet been produced.

Likewise, the summonses issued to CRI, Pinnacle, and Milliman are no evidence

whatsoever that the summons at issue in this case was “unnecessary.”           Those

summonses were issued after the summons issued to Respondent, and thus they are not

evidence Respondent’s summons was seeking information already in the IRS’s

possession. [Doc. 12-4].

      Contrary to Respondent’s argument, it fails to demonstrate that the IRS

possesses “the bulk of the materials” sought in the summons. See [Doc. 12, at 13]. As

Respondent admits, it fully responded to each request with respect to only 4.5% of its

Captives—the Captives already under IRS audit. [Id. at 12]. Respondent produced

some “template[s]” and a scattered few other documents, but ultimately only produced

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“hundreds of thousands of pages” out of the “millions of pages” it possesses. See [Id.

at 12, 14] (emphasis omitted). As for the documents produced by CRI, Pinnacle, or

Milliman, it is not clear how many documents were actually produced. During the

hearing, Respondent stated that CRI produced some 15,000 documents and that

Pinnacle produced some indeterminate number of documents relating to their actuarial

services. [Doc. 16, at 28:20–29:6]. But again, by Respondent’s own estimation, the

summons is seeking “millions of pages” of documents involving far more than just

actuarial services. See [Doc. 12, at 14]; see also [Doc. 16, at 30:10–15].

      The fact Respondent produced some documents in response to the summons

hardly demonstrates that the summons was “unnecessary,” and the fact Respondent

only produced a small portion of the documents demonstrates that enforcement of the

summons is warranted with respect to the remainder. As for the documents requested

from CRI, Pinnacle, and Milliman; Petitioner correctly points out that it requested a

subset of documents from those other sources only after Respondent refused to produce

documents. [Doc. 13, at 11]. Even assuming CRI, Pinnacle, and Milliman produced

each and every document requested, those documents are not “the bulk of the

materials” sought in the summons at issue in this case. Compare [Doc. 12-4] with

[Doc. 1-2]. As such, the Court concludes that “the bulk of the materials summoned

[are] not demonstrably in the possession of the IRS.” Davis, 636 F.2d at 1038.

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      Respondent next addresses the burden imposed by the summons, but incorrectly

focuses on whether the IRS “already possesses sufficient information . . . to make a

determination as to whether Respondent promoted abusive tax shelters.” [Doc. 12, at

13–15]. As Respondent freely admits, it possesses “additional documentation” not in

the IRS’s possession. See [id. at 14]. But Respondent would have the Court refuse to

order the production of those documents based on Respondent’s assertion that the small

portion of documents possessed by the IRS should be “sufficient.” See [id. at 14].

Respondent cites no authority suggesting that it can curb the investigative authority of

the IRS by producing only that subset of documents that it, in its magnanimous

discretion, deems to be “sufficient.” As Petitioner pointed out during the hearing,

Respondent faces potential liability for its conduct with respect to each separate client

for each distinct tax year. [Doc. 16, at 38:18–39:3]. Thus, even if the information

Respondent produced with respect to the 4.5% of clients already under IRS

investigation were “sufficient,” that would not absolve Respondent of its duty to

produce documents with respect to the other 95% of its clients. Each transaction is its

own, separate potential basis for liability.

      Respondent has “at most” presented “grounds for limiting enforcement of the

summons to those documents not already in the IRS’s possession, rather than

completely denying enforcement.” Davis, 636 F.2d at 1037. The present inquiry is

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not whether the summons as a whole is burdensome, but rather what burden is imposed

on Respondent if it is required to “supply[ ] information which might already be in the

possession of the IRS.” Id. at 1038. To the extent Respondent already produced certain

documents, the Court can see no reason why it should be compelled to produce those

documents again. 2 They would be nothing but identical versions of the same thing

produced by the same party, and the cost of producing them again would be wholly

unnecessary.

      But of the “millions of pages” not produced by Respondent, some few thousand

would potentially overlap with documents produced by CRI, Pinnacle, and Milliman.

To be sure, the Court could attempt to “carve[ ] out of the summons [such] information

already in the IRS’[s] possession.” See Miccosukee Tribe of Indians of Fla. v. United

States, 877 F. Supp. 2d 1331, 1345 (S.D. Fla. 2012). But “even if the IRS possesses a

small portion of the documents, this possession does not bar enforcement of the

[summons].” Id. at 1346. The Court need not pour over the millions of pages of

Respondent’s documents to sort out the small portion that might overlap with those

produced by CRI, Pinnacle, and Milliman. A person summoned cannot delay the


      2
        The Court is referring only to the exact documents already produced by
Respondent. The fact that Respondent produced “template insurance policies” does
not mean it can avoid producing complete, final versions of the insurance policies. See
[Doc. 12, at 12].

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summons through “the detailed discovery, prolonged cross-examination, and possible

in camera inspection necessary to sort out a relatively small number of documents, the

contents of which may already be known to the IRS, when it is probable that the person

summoned has no substantial interest in anything but the delay itself.” Davis, 636 F.2d

at 1038.

      As Judge Janet King has explained, the IRS can have a “legitimate investigative

reason for obtaining” ostensibly duplicative materials from different parties because it

needs “to compare the documents to ensure completeness of the production.” United

States v. Greenberger, No. 1:15-CV-03532-AT-JFK, 2016 WL 3912065, at *10 (N.D.

Ga. Jan. 11, 2016), report and recommendation adopted, 2016 WL 3912060 (N.D. Ga.

June 21, 2016). To the extent some of the documents possessed by Respondent might

overlap with documents produced by third-parties, the Court concludes that “burden of

supplying [such] information which might already be in the possession of the IRS is

small.” See Davis, 636 F.2d at 1038. Absent evidence that the IRS’s actions were

harassing, which will be discussed more below, the fact a respondent might have to

produce “exact electronic duplicates” of some documents does not bar enforcement of

the summons.     United States v. Greenberger, No. 1:15-CV-3532-AT, 2016 WL

3912060, at *1 (N.D. Ga. June 21, 2016).



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II.     Whether the Summons is an Abuse of Process

        Respondent next argues the summons was issued in bad faith but fails to present

sufficient evidence to support its position. Respondent contends that the IRS has

“refus[ed] to review the substantial documentation already in its possession,” but

presents no actual evidence on this point. See [Doc. 12, at 15]. Instead, Respondent

simply assumes the IRS must not have reviewed the documents because, Respondent

contends, that documentation is sufficient to make a “determination as to [the]

applicability of promoter penalties” and no such determination has been made. See [id.

at 15–16].

        Contrary to Respondent’s argument, there is no evidence that the documentation

provided gives “a complete picture of its captive insurance practice.” See [id. at 16,

n.5].   Rather, Respondent provided rough drafts of some documents and other

documents relating to clients already under IRS investigation. See [id. at 11–12]. Even

if the documents with respect to those clients were “sufficient,” that does not mean the

IRS is acting in bad faith by attempting to enforce the summons. Respondent cannot

just provide information relating to a cherry-picked handful of clients and demand the

IRS not investigate Respondent’s activities with respect to the other 95% of its

Captives. Each individual relationship is distinct, and the fact Respondent abided by



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the law when managing a subset of clients is not “sufficient” to conclude Respondent

abided by the law in managing all the Captives.

      More importantly, Respondent’s argument has no basis in law. In order to agree

with Respondent’s position, the Court would need to review the documents in the IRS’s

possession and decide if they are, in fact, “sufficient to make [a] determination” with

respect to every possible violation the IRS might want to investigate. See [Doc. 12, at

16]. Respondent cites to no authority, and this Court has found none, holding that

courts should engage in such a practice. See [id. at 15–19]. It is not the Court’s role

to “oversee the [IRS’s] determinations to investigate.” Powell, 379 U.S. at 56. “The

purpose of a summons is ‘not to accuse,’ much less to adjudicate, but only ‘to inquire.’”

United States v. Clarke, 573 U.S. 248, 254 (2014) (quoting United States v. Bisceglia,

420 U.S. 141, 146 (1975)). The Court is not here to adjudicate whether the IRS

possesses “sufficient” information for its investigation and will not conclude the IRS

is acting in bad faith based on nothing but Respondent’s naked assertion that the

documents already produced are enough. See Clarke, 573 U.S. at 254 (holding that

“[n]aked allegations of improper purpose are not enough”).

      Respondent next argues that the “IRS has weaponized the promoter penalty

statutes to intimidate and harass captive managers.” [Doc. 12, at 16–17]. But the only

evidence it cites is the declaration of its own attorney, who vaguely states that the IRS

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“has issued approximately a dozen similar summonses” but that it has yet to assert

“promoter penalties under the Tax Code against any of the captive managers.” [Doc.

9-1, at 20–21, ¶28]. Thus, all Respondent has shown is that the IRS has conducted a

small number of investigations that have not yet resulted any actual penalties. The

mere fact that other captive managers abided by the law—or at least have not been

prosecuted yet—is not evidence the IRS acted in bad faith by deciding to investigate

Respondent.

      Respondent next focuses on the alleged nefarious actions of IRS District Counsel

Diana Wells. [Doc. 12, at 17]. Respondent first notes Ms. Wells was counsel in several

audits of Respondent’s clients and that some of those clients filed petitions in Tax

Court. [Id., at 17]. Relying on the Eleventh Circuit’s decision on remand in Clarke,

Respondent notes “it would clearly be an improper purpose for the IRS to issue a

summons in bad faith outside a legitimate investigation, with the sole motive of

circumventing tax court discovery.” [Doc. 12, at 17 n.7] (quoting United States v.

Clarke, 816 F.3d 1310, 1317 (11th Cir. 2016)). But the Eleventh Circuit went on to

hold that the mere existence of related tax court cases is not proof that the summons

was issued to circumvent tax court discovery. See Clarke, 816 F.3d at 1318 (“That the

IRS could conceivably attempt to introduce evidence from these summonses in the



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pending tax litigation does not rise to the level of an abuse of process contemplated by

Powell.”).

       Even accepting that the Tax Court cases are related to the summons at issue in

this case, that alone does not create a plausible inference the summons was issued in

bad faith. That is especially so here because the Tax Court cases involved only a

handful of Respondent’s clients, and the summons seeks information relating to all of

Respondent’s clients. See [Doc. 1-2]. Discovery in the Tax Court cases necessarily

would not have involved the vast majority of documents at issue, and thus there is no

evidence the summons was issued to avoid the tax court’s discovery procedures. If

anything, the fact that several of Respondent’s clients were under investigation for

allegedly using abusive tax shelters proves the IRS had a legitimate basis for

investigating Respondent for allegedly promoting such abusive tax shelters to its

clients.

       Respondent next notes that the summons was issued “almost exactly a month

after Respondent filed a formal complaint against [Ms. Wells]” for supposedly

“inappropriate behavior.” [Doc. 12, at 17]. But Respondent had already been under

investigation for nearly a year before it made the complaint against Ms. Wells.

[Docs. 9-6, 9-10]. The Court cannot conclude that the IRS acted in bad faith simply



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by continuing an already ongoing investigation just because Respondent decided to

complain about one of the investigators.

      Looking to the substance of Respondent’s complaint, it does not demonstrate

bad faith, abusive harassment. Instead, an IRS auditor—not Ms. Wells—insisted on

interviewing the owner of a captive even though he maintained that he “did not

participate in the daily management of the captive.” [Doc. 9-10, at 2]. The auditor

then insisted the owner appear in person at an IRS office, which Respondent

“assume[d] . . . was purely an intimidation tactic intended to bully and intimidate” the

owner. [Id. at 3]. Ms. Wells, for her part, allegedly “interrupted the auditor to ask

direct questions,” even though Respondent asked her “not to speak directly” to the

owner. [Id.]. Respondent contends this “demonstrates her excessively aggressive and

rude behavior.” [Id.]. Ms. Wells also “initially demanded that [the owner] turn over

his personal notes,” allegedly doing so “[w]ith a hostile attitude.” [Id.]. Notably, there

is no evidence that Ms. Wells’ superiors ever decided to investigate, sanction, or

reprimand her based on Respondent’s complaint.

      Thus, a single investigator involved in this case allegedly had a “hostile attitude”

and engaged in “rude behavior” during an interview of one of Respondent’s clients in

an unrelated audit. Respondent then complained about this “inappropriate behavior,”

and now argues that the summons in this case must have been bad faith retaliation. See

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[Doc. 12, at 17].    As noted above, Respondent had independently been under

investigation for nearly a year at the time it filed the complaint. The Court concludes

that such flimsy evidence is not enough to “give rise to a plausible inference of

improper motive.” Clarke, 573 U.S. at 254.

      Last, Respondent notes that “the IRS has refused Respondent’s offers for a

conference to communicate its practices and procedures and to address any questions

the IRS may have regarding the same.” [Doc. 12, at 18]. But Respondent fails to cite

a single authority indicating that the IRS has any obligation to agree to such a

conference,3 and the Court has not found a single case where enforcement of a

summons was denied on such a basis. If Respondent would simply produce the

documents identified in the summons, there would no need for any conference to

discuss Respondent’s practices and procedures. If the IRS then decides a conference

is necessary after it has had a chance to review properly summonsed documents, it can

request one. But Respondent cannot simply demand the IRS conduct an interview in

lieu of producing properly summonsed documents.



      3
         Respondent does suggest “Petitioner has arguably violated Northern District of
Georgia Local Rule 37.1 and Judge May’s Standing Order Regarding Civil Litigation”
by not agreeing to a conference. [Doc. 12, at 18 n.8]. But this argument is surprising,
since neither the Court’s Local Rules nor any Judge’s standing order applied prior to
the filing of this action.

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      Respondent also argues enforcement of the summons would be an abuse of

process because the summons is overbroad. [Doc. 12, at 19–20]. “An IRS summons

is overbroad if it ‘does not advise the summoned party what is required of him with

sufficient specificity to permit him to respond adequately to the summons.’” United

States v. Medlin, 986 F.2d 463, 467 (11th Cir. 1993) (quoting United States v. Wyatt,

637 F.2d 293, 302 n. 16 (5th Cir. Feb. 17 1981)). Here, Respondent does not argue

that the summons fails to advise it of what is required with sufficient specificity to

permit it to respond. As Respondent’s counsel freely admitted during the hearing, “We

understand what they want . . . we understand what they want and can discern it.”

[Doc. 16, at 27:21–22]. Instead, Respondent’s argument is that the summons is

overbroad because the IRS is requesting “all, all, all,” i.e. all documents, relating to all

clients, for the entire eleven-year history of Respondent’s Captive practice. [Id.].

      The authority in this Circuit is clear that a summons is not overbroad so long as

it “specif[ies] the detailed subject matter of the documents requested, the source of

those documents, and the limited time period . . . from which the documents were to

be drawn.” See, e.g., Miccosukee, 877 F. Supp. 2d at 1346. To be sure, Powell and

§ 7602 itself impose limits on how far a summons can go, and the Court can envisage

other circumstances that might be called “overbroad.” If, for example, the IRS

requested documents relating to Respondent’s commercial real estate, zoning and land

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use practice, that request would be overbroad. But not because of the volume of

documents requested. Rather it would be because such documents are not “relevant or

material” to the issue of Respondent’s captive management practice, i.e. they would

not be sought for “a legitimate purpose” and would not “be relevant to [any legitimate]

purpose.” See 26 U.S.C. § 7602(a)(1); Powell, 379 U.S. at 57.

        The Court cannot say that the summons at issue in this case is so overbroad as

to be an abuse of process. The documents sought are clearly relevant to the IRS’s

investigation of Respondent’s captive management practice and Respondent admits

that the documents being requested are identified with sufficient specificity. See [Doc.

1-2]. Additionally, the requests span a limited—albeit eleven year—timeframe.4

Respondent fails to cite a single case or any binding authority holding an IRS summons

is overbroad simply because it requests a large number of documents. [Doc. 12, at 19–

20]. Under the circumstances, the Court concludes that enforcement of the summons

would not be an abuse of process.

III.    Whether Requested Documents are Privileged or Confidenti

        Respondent’s last argument is that it “is ethically barred by privilege and



        As Petitioner’s counsel pointed out during the hearing, the volume of
        4

documents would have been less if Respondent had fully replied to the IDR, sent over
two years ago. See [Doc. 16, at 39:3–9]; see also [Doc. 9-7].

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confidentiality obligations from producing much of the requested documentation.”

[Doc. 12, at 20–25]. As mentioned above, Respondent asserts it has already produced

all responsive documents “not containing privileged communications between

Respondent and its clients, or confidential client information.” [Id. at 11]. Thus, it

appears the real crux of the dispute between the parties is whether the millions of

documents not produced by respondent are indeed privileged. Respondent points out

that two Kentucky District Courts have already ruled that certain documents are

privileged and that the privilege had not (yet) been waived. See [Doc. 9-15]. But those

cases are not proof that “all correspondence solely between Respondent and its captive

clients are privileged and protected from production,” as Respondent contends. See

[Doc. 12, at 22].

      Neither case involved the withholding of millions of pages of documents, as

Respondent seeks to do here. One involved “140 email communications” specifically

listed in a privilege log, and the other also involved emails with a handful of

Respondent’s clients that were specifically “identified in their revised privilege logs.”

[Doc. 9-13, at 2, 8]. There is no indication that Respondent’s clients withheld “all

correspondence solely between Respondent and [them],” which is what Respondent

deems “privileged.” See [Doc. 12, at 22]. The Eleventh Circuit has explicitly rejected

“the argument that any communication between an attorney and client is protected by

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the privilege.” In re Grand Jury Matter No. 91-01386, 969 F.2d 995, 997 (11th Cir.

1992) (emphasis in original). Respondent must also show that legal advice was sought,

that the communication related to that purpose, that Respondent was acting in its

capacity as a professional legal advisor—not a claims adjuster—and so on. See

Universal City Dev. Partners, Ltd. v. Ride & Show Eng’g, Inc., 230 F.R.D. 688, 690

(M.D. Fla. 2005); see also Carpenter v. Mohawk Indus., Inc., No. 4:07–CV–0049–

HLM, 2007 WL 5971741, at *9 (N.D.Ga. Oct. 1, 2007) (“When advice given by an

attorney relates to both business and legal matters, the legal advice must predominate

in order for the attorney-client privilege to apply.”); In re Grand Jury Investigation, 842

F.2d 1223, 1226 (11th Cir. 1987) (“The attorney-client privilege does not protect

communications made in furtherance of a crime or fraud.”).

      The Magistrate Judges in the Kentucky cases did not just simply accept the

respondents’ assertion of privilege. They each “concluded that an in camera review

must be conducted of all the emails . . . to determine whether the attorney-client

privilege applies to each of the withheld emails.” [Doc. 9-13, at 8]; see also [id. at 2].

This is so because the person invoking the privilege “bear[s] the burden of proving its

existence.” In re Grand Jury Investigation, 842 F.2d at 1225. Even if the specific

emails determined to be privileged in the Kentucky cases are in fact privileged,

Respondent has not met its burden of showing “all correspondence solely between

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Respondent and its captive clients are privileged” by that fact alone. See [Doc. 12, at

21–22].

      Notably, respondent only argues that certain “correspondence” is privileged.

See [id.]. Respondent appears to concede that it has not produced a substantial amount

of “documentation,” which it contends is confidential, not privileged. See [id. at 23].

Not all confidential information is privileged, and Respondent cannot avoid disclosing

non-privileged confidential information if it is required to do so “by order of the court.”

Ga. R. Prof. Conduct 1.6(a). But Respondent correctly notes that the Eleventh circuit

has created a narrow “exception to the normal rule that a client’s identity is not

privileged . . . known as the ‘last link’ doctrine.” In re Grand Jury Proceedings 88-9

(MIA), 899 F.2d 1039, 1043 (11th Cir. 1990). “In essence, the last link doctrine

extends the protection of the attorney-client privilege to nonprivileged information—

the identity of the client—when ‘disclosure of that identity would disclose other,

privileged communications (e.g., motive or strategy) and when the incriminating nature

of the privileged communications has created in the client a reasonable expectation that

the information would be kept confidential.’” Id. (quoting Rabin v. United States, 896

F.2d 1267, 1273 (11th Cir.1990)) (emphasis original).

      Respondent argues that “disclosure of Respondent clients’ identities could

subject each taxpayer to unnecessary harassment through IRS examination.” [Doc. 12,

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at 23–24]. But the only case cited by Respondent deals with clients who hired counsel

in criminal matters. See United States v. Garland, Case No. 1:91-CV-2267-ODE, 1992

WL 138116, at *7 (N.D. Ga. Apr. 9, 1992); see also In re Grand Jury Proceedings 88-

9 (MIA), 899 F.2d at 1043 (noting the last link doctrine protects the identity of a client

if it “could form the chain of testimony necessary to convict an individual of a federal

crime”). Respondents have cited no authority indicating that a mere IRS audit is

covered by the last link doctrine. See [Doc. 12, at 23–24]. As the Supreme Court has

held, when the party summoned “is itself under investigation,” “any incidental effect

on the privacy rights of unnamed taxpayers is justified by the IRS’s interest in enforcing

the tax laws.” Tiffany Fine Arts, Inc. v. United States, 469 U.S. 310, 321 (1985). Even

assuming the last link doctrine is potentially applicable, Respondent omits a crucial

element in the analysis.

      Respondent cannot just show that disclosure of its client’s identity would lead to

“harassment.”    It must show that the disclosure of the “usually nonprivileged

information will reveal other privileged information.” In re Grand Jury Proceedings

88-9 (MIA), 899 F.2d at 1043. Absent such a showing, the last link doctrine does not

apply. Id. Just like in the case relied on by Respondent, here Respondent makes no

argument that the “disclosure [of its clients’ identity] will otherwise reveal privileged

attorney-client communication.” Garland, 1992 WL 138116, at *7; see also [Doc. 12,

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at 23–24]. As such, Respondent has not shown that the last link doctrine protects any

of the otherwise nonprivileged information it seeks to withhold. See In re Grand Jury

Proceedings 88-9 (MIA), 899 F.2d at 1043; Garland, 1992 WL 138116, at *7. Absent

such a showing, confidentiality alone is not enough to protect the information from

disclosure, because nonprivileged confidential information must be disclosed if

required “by order of the court.” Ga. R. Prof. Conduct 1.6(a).

                                   CONCLUSION

      For the foregoing reasons, the undersigned RECOMMENDS that the Petition

be GRANTED in part and DENIED in part. As explained above, the undersigned

RECOMMENDS that the Petition be DENIED as to the specific documents

Respondent itself has already produced, but that the Petition otherwise be GRANTED.

      The last argument in Respondent’s brief does not deal with what documents

should be produced, per se, but rather deals with what kind of privilege log it should

produce. [Doc. 12, at 24–25]. Respondent contends that a categorical privilege log is

appropriate because “the additional information to be gleaned from a more detailed log

would be of no material benefit.” [Id. at 24]. The undersigned believes such a privilege

log is not sufficient in this case. As discussed above, the Eleventh Circuit has rejected

Respondent’s sweeping “argument that any communication between an attorney and

client is protected by the privilege.” In re Grand Jury Matter No. 91-01386, 969 F.2d

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at 997 (emphasis in original). Determining whether the attorney-client privilege

applies requires an analysis of each document individually, as occurred in the Kentucky

cases.

         But as Respondent notes, the material at issue in this case is voluminous. See

[Doc. 12, at 24]. Because neither an available district judge or magistrate judge of this

District can handle such a volume of allegedly privileged materials in an effective and

timely manner considering the Court’s docket, the undersigned RECOMMENDS that

a special master be appointed to resolve discovery disputes between the parties. See

Fed. R. Civ. P. 53(a)(1)(C). Additionally, because allocating the payment of the special

master among the parties depends on issues not yet fully developed, the undersigned

further RECOMMENDS that the Court withhold ruling on that issue at this time. See

Id. 53(g)(3). To the extent the parties have any objections to the appointment of a

special master or wish to suggest candidates for appointment, they should raise those

issues in any objections to this Report and Recommendation. Id. 53(b)(1).

         As this is a Final Report and Recommendation and there are no other matters

pending before the Court, the Clerk is directed to terminate the reference to the

undersigned.




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      SO ORDERED AND REPORTED AND RECOMMENDED, this _____
                                                      20

day of July, 2020.

                            ___________________________________
                            LINDA T. WALKER
                            UNITED STATES MAGISTRATE JUDGE




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